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Case 1:95-cv-01783-GWC Document1 Filed 12/26/95 Page 1 of 2

FORM 1 6 o

UNITED STATES COURT OF INTERNATIONAL TRADE

THE MEAD CORPORATION
Plaintiff,

UNTTED STATES,

Defendant.
we ee % SUHMHHOHS

TO: THE ATTORNEY GENERAL AND THE SECRETARY OF TitE TREASURY

PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C. § 1581 (a)
to contest the denial of the protest specified below (and the protests listed on the

attached schedule).

  

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By aay

Kt afte Clie tle

DeaSEPH E. LOMBARDI, CLERK OF THE COURT

 

 

 

 

 

 

 

EMRE
PROTEST
Port of Yate Protest
Entry: Kansas City Filed: — g9/18/95
Protest Date Protest
Number: 4501-95-100100 Denied: 10/04/95
Importer: The Mead Corporation

 

Category of
Merchandise: Day Planners

 

 

ENTRIES INVOLVED IN ABOVE PROTEST

 

 

 

 

 

 

 

 

 

 

 

 

 

entry Date of Date of Entry Date af Date of
Number Entry Liquidation Number Entry Liquidation
~
595-0193569-2 03/07/95 06/23/95 595 -0197037- _o4s12095 oz y2avos,
*  §XX-XXXXXXX-5 04/06/95 07/21/95} “>__595-0199001-d 05/04/95 | 08/18/95
~~ 595-0196483-3 04/11/95 07/28/95
U.S. Customs Service Sidney H- Kuflik
2701 Rotkcreek Pkwy., Ste 202 Lanb & Lerch °
North Kansas City, MO 64116 233 Broadway, 51st Floor
New York, N.Y. 106279
(212) 608-2700

 

 

 

 

Address of Customs District in Which Name, Address and felephone Number of
Protest Was Oenied Plaintiff’s Attorney

[-$

(See reverse side)

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Case 1:95-cv-01783-GWC Document1 Filed 12/26/95 Page 2 of 2

NTESTED ADMINISTR

ECISION

 

 

 

 

 

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et Eh Set 5 oe Soe servi:
I servi roeSTATUTORY CASTS . STATEMENT OF VALUE
Trane — ———
Anpraised: on a

 

 

 

Protest Claim:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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SE
omtet__/cabas@e¥ chron RATE.OR AMOUNT ees
ASSESSED +, PROTEST CLAIM
i Set - oe a
| Item or ! ME “sete oc cbbém or
| Merchandise Heading Number | Rate * ' | | ‘Heading Number Rate
Bay Planners 4820.10.2010 3,64 4820.10.4000 ; Duty Free
I Wee
| =
OTHER ios

 

 

State specifically the Decision

were bound,

(as Described in 19 U.S.C. § 1514{a)}] and the Protest

Claim: customs incorrectly concluded that 1) the imported day planners were
diaries rather than articles similar to diaries and 2) that the day planners
Since the day planners are articles similar to diaries and/or are
not bound they are not classifiable as assessed, but are classifiable under

 

 

subheading 4820, 10,4000, iPS

The issue which was common to al! such denied protests:
Ia the subject merchandise classifiable as a bound diary under subheading
4820,10.2010, HTSUS, or under the residual "other" basket provision for heading

4820, namely, subheading 4620.10.4000, HTSUS?

 

 

Every denied protest
importer, or
dise specified above

denied protest.

charges or exactions h
shown.

by an authorized pers
was invalved
The issue 9
All such protests were filed an

included in this civil

ave been paid

on on the importer’
in each entry of
yr issues stated above were common

d denied as prescribed by Taw.
, and were paid at the port of entry unless otherwise

signature g¥]PTa

 

action was filed by the same above-named

5 behalf. The category of merchan-
merchandise included in every such
to all such denied protests.
Al] liquidated duties,

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intifa’s Attorney

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